          Case 23-41210              Doc 1            Filed 07/07/23 Entered 07/07/23 15:24:20                                 Desc Main
                                                        Document Page 1 of 33

 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     R & A Creative Co. LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      3      –      4      1        1    0         7   6     6

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       3100 Wispering Pine Blvd.
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Melissa                             TX       75454
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Collin                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            thecopyhaus.com

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
          Case 23-41210                Doc 1      Filed 07/07/23 Entered 07/07/23 15:24:20                              Desc Main
                                                    Document Page 2 of 33

Debtor R & A Creative Co. LLC                                                             Case number (if known)

7.   Describe debtor's business         A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                          Chapter 7
                                             Chapter 9
     A debtor who is a "small                Chapter 11. Check all that apply:
     business debtor" must check                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                          aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                           recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                           income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                         in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                             Chapter 12




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
           Case 23-41210               Doc 1      Filed 07/07/23 Entered 07/07/23 15:24:20                                  Desc Main
                                                    Document Page 3 of 33

Debtor R & A Creative Co. LLC                                                              Case number (if known)

9.   Were prior bankruptcy                   No
     cases filed by or against
     the debtor within the last 8            Yes. District                                        When                    Case number
     years?                                                                                              MM / DD / YYYY

                                                  District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
     List all cases. If more than 1,                                                                                           MM / DD / YYYY
     attach a separate list.                        Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
          Case 23-41210         Doc 1      Filed 07/07/23 Entered 07/07/23 15:24:20                                 Desc Main
                                             Document Page 4 of 33

Debtor R & A Creative Co. LLC                                                     Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
          Case 23-41210              Doc 1         Filed 07/07/23 Entered 07/07/23 15:24:20                                  Desc Main
                                                     Document Page 5 of 33

Debtor R & A Creative Co. LLC                                                            Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/07/2023
                                                      MM / DD / YYYY



                                          X /s/ Mia Francis Poulin
                                              Signature of authorized representative of debtor
                                              Mia Francis Poulin
                                              Printed name
                                              Owner/Member
                                              Title

18. Signature of attorney                X /s/ Veronica Deaver                                                    Date   07/07/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Veronica Deaver
                                            Printed name
                                            Veronica Deaver
                                            Firm name
                                            P.O. Box 2248
                                            Number          Street



                                            McKinney                                                   TX                 75070
                                            City                                                       State              ZIP Code


                                            (214) 282-5024                                             veronicadeaver@msn.com
                                            Contact phone                                              Email address
                                            24007096                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
            Case 23-41210                Doc 1           Filed 07/07/23 Entered 07/07/23 15:24:20                           Desc Main
                                                           Document Page 6 of 33

 Fill in this information to identify the case
 Debtor name          R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                               12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    RBFCU Checking Account                                        Checking Account                                                       $0.00
3.2.    ReLay Bank Account                                            Checking account                                                     $400.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $400.00


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                          page 1
           Case 23-41210              Doc 1         Filed 07/07/23 Entered 07/07/23 15:24:20                               Desc Main
                                                      Document Page 7 of 33

Debtor       R & A Creative Co. LLC                                                       Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:            $1,500.00             –                 $0.00                  = .......................              $1,500.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                           $1,500.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
          Case 23-41210               Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                      Desc Main
                                                     Document Page 8 of 33

Debtor       R & A Creative Co. LLC                                                    Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
           Case 23-41210               Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                      Desc Main
                                                      Document Page 9 of 33

Debtor       R & A Creative Co. LLC                                                     Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                  $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                  $0.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
           Case 23-41210              Doc 1          Filed 07/07/23 Entered 07/07/23 15:24:20                             Desc Main
                                                      Document Page 10 of 33

Debtor       R & A Creative Co. LLC                                                      Case number (if known)
             Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

      thecopyhaus.com                                                                                                                Unknown
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
           Case 23-41210               Doc 1            Filed 07/07/23 Entered 07/07/23 15:24:20                  Desc Main
                                                         Document Page 11 of 33

Debtor       R & A Creative Co. LLC                                                      Case number (if known)
             Name


Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                  $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 6
              Case 23-41210                       Doc 1            Filed 07/07/23 Entered 07/07/23 15:24:20                                          Desc Main
                                                                    Document Page 12 of 33

Debtor           R & A Creative Co. LLC                                                                              Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                $400.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $1,500.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.                $1,900.00         +     91b.                  $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................$1,900.00




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                            page 7
            Case 23-41210               Doc 1       Filed 07/07/23 Entered 07/07/23 15:24:20                                Desc Main
                                                     Document Page 13 of 33

 Fill in this information to identify the case:
 Debtor name          R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                                No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
            Case 23-41210              Doc 1       Filed 07/07/23 Entered 07/07/23 15:24:20                            Desc Main
                                                    Document Page 14 of 33

 Fill in this information to identify the case:
 Debtor              R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
           Case 23-41210              Doc 1       Filed 07/07/23 Entered 07/07/23 15:24:20                            Desc Main
                                                   Document Page 15 of 33

Debtor        R & A Creative Co. LLC                                                   Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $8,650.00
                                                                   Check all that apply.
Fundbox                                                                Contingent
6900 Dallas Pkwy #700                                                  Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Plano                                    TX       75024            Work Capitol

Date or dates debt was incurred         3/2022                     Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          0    7    6   6                Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $114,500.00
                                                                   Check all that apply.
SBA EIDL                                                               Contingent
US Small Business Admin                                                Unliquidated
                                                                       Disputed
PO Box 3918
                                                                   Basis for the claim:
Portland                                 OR       97208-3918       EIDL

Date or dates debt was incurred         11/2022                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          0    1    8   0                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,795.00
                                                                   Check all that apply.
Seamless AI                                                            Contingent
438 E. Wilson Bridge Rd. Suite 202                                     Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Worthington                              OH       43085            Cancelled Contract

Date or dates debt was incurred         11/2022                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          0    7    6   6                Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $15,800.00
                                                                   Check all that apply.
Stripe Capitol                                                         Contingent
510 Townsend St.                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
San Francisco                            CA       94103            Money Loaned

Date or dates debt was incurred         5/2022                     Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          0    7    6   6                Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
           Case 23-41210           Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                       Desc Main
                                                 Document Page 16 of 33

Debtor       R & A Creative Co. LLC                                                Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $7,500.00
                                                               Check all that apply.
Virtual Synergy Consulting                                         Contingent
c/o Brittney Johnson                                               Unliquidated
                                                                   Disputed
325 W. Park Rd NW
                                                               Basis for the claim:
North Canton                           OH       44720          Consulting

Date or dates debt was incurred      4/2022                    Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       0     7   6   6               Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
           Case 23-41210              Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                               Desc Main
                                                    Document Page 17 of 33

Debtor        R & A Creative Co. LLC                                                       Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Internal Revenue Services                                             Line
         Centralized Insolvencey Operation                                            Not listed. Explain:
         PO Box 7346                                                                  1040 Taxes


         Philadelphia                  PA      19101-7346




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4
           Case 23-41210           Doc 1      Filed 07/07/23 Entered 07/07/23 15:24:20                        Desc Main
                                               Document Page 18 of 33

Debtor      R & A Creative Co. LLC                                            Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $148,245.00


5c. Total of Parts 1 and 2                                                                5c.                $148,245.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5
          Case 23-41210              Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                               Desc Main
                                                   Document Page 19 of 33

 Fill in this information to identify the case:
 Debtor name         R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                 Chapter       7                                      Check if this is an
 (if known)                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
         (Official Form 206A/B).

2.   List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                       parties with whom the debtor has an executory
                                                                                       contract or unexpired lease




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                             page 1
          Case 23-41210               Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                               Desc Main
                                                    Document Page 20 of 33

 Fill in this information to identify the case:
 Debtor name         R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
             Case 23-41210                            Doc 1              Filed 07/07/23 Entered 07/07/23 15:24:20                                                                 Desc Main
                                                                          Document Page 21 of 33

 Fill in this information to identify the case:


 Debtor Name R & A Creative Co. LLC

 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                        $1,900.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                         $1,900.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................                                                     $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $148,245.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $148,245.00




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
          Case 23-41210                Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                             Desc Main
                                                     Document Page 22 of 33

 Fill in this information to identify the case and this filing:
 Debtor Name         R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 07/07/2023                       X /s/ Mia Francis Poulin
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Mia Francis Poulin
                                                              Printed name
                                                              Owner/Member
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 23-41210             Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                             Desc Main
                                                   Document Page 23 of 33

 Fill in this information to identify the case:
 Debtor name        R & A Creative Co. LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2023      to   Filing date
fiscal year to filing date:                                                        Other                                               $18,895.43
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2022      to    12/31/2022
                                        MM / DD / YYYY        MM / DD / YYYY       Other

                                                                                   Operating a business
For the year before that:        From    01/01/2021      to    12/31/2021
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $180,610.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
           Case 23-41210               Doc 1         Filed 07/07/23 Entered 07/07/23 15:24:20                                  Desc Main
                                                      Document Page 24 of 33

Debtor         R & A Creative Co. LLC                                                        Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
            Case 23-41210              Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                                Desc Main
                                                     Document Page 25 of 33

Debtor          R & A Creative Co. LLC                                                     Case number (if known)
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe any property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. Law Office of Veronica Deaver                                                                            05/12/2023              $2,200.00

         Address

         P.O. Box 2248
         Street


         McKinney                     TX      75070
         City                         State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
           Case 23-41210                Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                             Desc Main
                                                      Document Page 26 of 33

Debtor        R & A Creative Co. LLC                                                     Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
           Case 23-41210               Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                                  Desc Main
                                                     Document Page 27 of 33

Debtor       R & A Creative Co. LLC                                                         Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
            Case 23-41210              Doc 1        Filed 07/07/23 Entered 07/07/23 15:24:20                                 Desc Main
                                                     Document Page 28 of 33

Debtor       R & A Creative Co. LLC                                                         Case number (if known)
             Name

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

       26a.1. Mial Francis-Poulin                                                                   From      10/2018         To     Present
               Name
               3100 Whispering Pine Blvd
               Street


               Melissa                                        TX          75454
               City                                           State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest          % of interest, if any

Mia Francis-Poulin                       3100 Whispering Pine Blvd                    Member / Owner                                      100%
                                         Melissa, TX 75454
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
           Case 23-41210               Doc 1         Filed 07/07/23 Entered 07/07/23 15:24:20                             Desc Main
                                                      Document Page 29 of 33

Debtor        R & A Creative Co. LLC                                                      Case number (if known)
              Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 07/07/2023
            MM / DD / YYYY



X /s/ Mia Francis Poulin                                                           Printed name Mia Francis Poulin
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Owner/Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
               Case 23-41210                         Doc 1            Filed 07/07/23 Entered 07/07/23 15:24:20                                                         Desc Main
                                                                       Document Page 30 of 33

B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re R & A Creative Co. LLC                                                                                                        Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,200.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,200.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
          Case 23-41210           Doc 1      Filed 07/07/23 Entered 07/07/23 15:24:20                       Desc Main
                                              Document Page 31 of 33

B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    07/07/2023                        /s/ Veronica Deaver
                       Date                           Veronica Deaver                            Bar No. 24007096
                                                      Veronica Deaver
                                                      P.O. Box 2248
                                                      McKinney, TX. 75070
                                                      Phone: (214) 282-5024 / Fax: (972) 529-7010




   /s/ Mia Francis Poulin
   Mia Francis Poulin
   Owner/Member
           Case 23-41210            Doc 1    Filed 07/07/23 Entered 07/07/23 15:24:20                   Desc Main
                                              Document Page 32 of 33

                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION
  IN RE:   R & A Creative Co. LLC                                                  CASE NO

                                                                                   CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/7/2023                                           Signature   /s/ Mia Francis Poulin
                                                                    Mia Francis Poulin
                                                                    Owner/Member




Date                                                    Signature
Case 23-41210   Doc 1   Filed 07/07/23 Entered 07/07/23 15:24:20   Desc Main
                         Document Page 33 of 33


                        Fundbox
                        6900 Dallas Pkwy #700
                        Plano, TX 75024



                        Internal Revenue Services
                        Centralized Insolvencey Operation
                        PO Box 7346
                        Philadelphia PA 19101-7346


                        SBA EIDL
                        US Small Business Admin
                        PO Box 3918
                        Portland OR 97208-3918


                        Seamless AI
                        438 E. Wilson Bridge Rd. Suite 202
                        Worthington, OH 43085



                        Stripe Capitol
                        510 Townsend St.
                        San Francisco, CA 94103



                        Virtual Synergy Consulting
                        c/o Brittney Johnson
                        325 W. Park Rd NW
                        North Canton, OH 44720
